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                      UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF PUERTO RICO

     UNITED STATES DEPARTMENT OF       CIVIL NO.
             AGRICULTURE
        (Farm Service Agency)

              Plaintiff                Foreclosure of Mortgage
                                       In Rem
                     v.

CARLOS ALBERTO GONZALEZ RIVERA,
VANESSA BERMUDEZ CORDERO A/K/A
VANESSA GONZALEZ RIVERA, and
their Conjugal Partnership

             Defendants


                                 COMPLAINT

TO THE HONORABLE COURT:

       COMES NOW the United States Department of Agriculture-Farm

Serve Agency (USDA-FSA), through the undersigned attorney, who

respectfully alleges and prays as follows:

1.     Jurisdiction of this action is conferred on this Court by 28

       U.S.C. Section 1345.

2.     Plaintiff, USDA-FSA, through the Farm Service Agency, an

       agency of the United States of America organized and existing

       under the provisions of the Consolidated Farm and Farm Service

       Agency Act, 7 U.S.C. §1921 et seq., is the owner and holder

       of two (2) promissory notes that affect the property described

       further below.
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3.   The first promissory note is for the amount of $97,000.00,

     with annual interest of 3.75%, subscribed on May 30, 1997.

     See Exhibit 1 (Note).

4.   For the purpose of securing the payment of said promissory

     note, a voluntary mortgage was executed on the same date, in

     favor   of   the    plaintiff,   under     the    terms    and   conditions

     stipulated and agreed therein, through deed No. 136. This

     mortgage     is    duly   recorded   at   the    corresponding     Property

     Registry.     See Exhibit 2 (Title Search).

5.   On May 21, 2001, the promissory note for $97,000.00, was

     modified to the amount of $107,322.32, under the terms and

     conditions stipulated and agreed therein, through Deed No.

     70. This transaction is duly recorded at the corresponding

     Property Registry. See Exhibit 2 (Title Search).

6.   Plaintiff is also the owner and holder of a promissory note

     for the amount of $3,924.30, with annual interest of 5%,

     subscribed on May 21, 2001. See Exhibit 3 (Note).

7.   For the purpose of securing the payment of said promissory

     note, a voluntary mortgage was executed on the same date, in

     favor   of   the    plaintiff,   under     the    terms    and   conditions

     stipulated and agreed therein, through deed No. 71. This

     mortgage     is    duly   recorded   at   the    corresponding     Property

     Registry.     See Exhibit 2 (Title Search).

8.   According     to    the   Property    Registry,     codefendant      CARLOS

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      ALBERTO GONZALEZ RIVERA appears as owner of record of the

      real estate property subject of this case. Said property is

      described -as it was recorded in Spanish- as follows:


           RUSTICA: Radicado en el Barrio Roncador del municipio de
           Utuado, Puerto Rico, con una cabida de 32.00 cuerdas,
           equivalentes a 12 hectáreas, 57 áreas, 72 centiáreas y
           80 miliáreas. En lindes por el NORTE, con Vicente
           Beauchamp y Angel Pérez; por el SUR, con Vicente
           Beauchamp, Santiago Maldonado y Domingo Rosado; por el
           ESTE, con Vicente Beauchamp, Santiago Maldonado y
           Domingo Rosado y por el OESTE, con Epifanio López.
           Enclava edificación.

           Property 11,027, recorded at page 123 of volume 274,
           Property Registry of Utuado, Puerto Rico. See Exhibit
           2 (Title Search).

9.    On August 5, 2015, codefendant CARLOS ALBERTO GONZALEZ RIVERA

      obtained a discharge from the Bankruptcy Court in Chapter 7

      case number 15-02878-MCF7, before the U.S. Bankruptcy Court

      for the District of Puerto Rico.         See Exhibit 3 (Discharge

      Order).

10.   It was expressly stipulated in the notes evidencing the

      indebtedness that default in the payment of any part of the

      covenant or agreement therein contained will authorize the

      plaintiff, as payee of said notes, to declare due and payable

      the total amount of the indebtedness evidenced by said notes

      and proceed with the execution and/or foreclosure of the

      mortgages.

11.   Therefore, the agreements are due in full, with the following


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amounts, as of March 31, 2025:

     a) On the $97,000.00 Note, as modified:

          1) The sum of $101,929.63, of principal;

          2) The sum of $63,058.73, of interest accrued as of

             March 31, 2025, and thereafter until its full

             and    total     payment,      which      interest       amount

             increases at the daily rate of $10.4722;

          3) The    amount    of    1,003.96,      for      administrative

             expenses, which interest amount increases at the

             daily rate of $.0873;

          4) Plus, insurance premium, taxes, advances, late

             charges,        costs,       court       costs       expenses,

             disbursements      and      attorney’s       fees   guaranteed

             under the mortgage obligation.

     b) On the $3,924.30 Note:

           1) The sum of $2,767.11, of principal;

           2) The sum of $1,518.50, of interest accrued as of

              March 31, 2025, and thereafter until its full

              and   total     payment,       which        interest    amount

              increases at the daily rate of $0.2653;

           3) Plus, insurance premium, taxes, advances, late

              charges,       costs,       court       costs       expenses,

              disbursements        and   attorney’s       fees   guaranteed

              under the mortgage obligation.                See Exhibit 4

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                     (Certificate of Indebtedness).

12.   The indebtedness evidenced by the aforementioned notes is

      secured by the mortgages over the properties described in

      this complaint.

13.   Codefendants   CARLOS    ALBERTO   GONZALEZ    RIVERA    and    VANESSA

      BERMUDEZ CORDERO are not presently active in the military

      service for the United States. See Exhibit 5 (SCRA).

                               VERIFICATION

      I, EDGAR MALDONADO MEDERO, of legal age, married, executive

and resident of Toa Alta, Puerto Rico, in my capacity as Farm Loan

Chief of the Farm Service Agency, San Juan, Puerto Rico, under the

penalty of perjury, as permitted by Section 1746 of Title 28,

United States Code, declare and certify:


      1) My name and personal circumstances are stated above;

      2) I subscribed this complaint as the legal and authorized

representative of the plaintiff;

      3) Plaintiff has a legitimate cause of action against the

defendants above named which warrants the granting of relief

requested in said complaint;

      4) Defendants are a necessary and legitimate party to this

action in view of the fact that they originated or assumed the

mortgage obligation subject of this foreclosure, or bought the

property subject to said mortgage;

      5) From the information available to me and based upon the

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documents in the Farm Service Agency, it appears that defendants

have not been declared incompetent by a court of justice with

authority to make such a declaration;

     6) I have carefully read the allegations contained in this

complaint and they are true and correct to the best of my knowledge

and to the documents contained in the files of the Farm Service

Agency;

     7) I have carefully examined the Exhibits included to this

complaint which are true and correct copies of the originals. The

mortgage deeds have been duly recorded in the Property Registry.

     I make the foregoing declaration under penalty of perjury,

as permitted under Section 1746 of Title 28, United States Code.

     In San Juan, Puerto Rico, this 12 day of March 2025.
                                                              Digitally signed by
                                                              EDGAR MALDONADO
                                            Edgar Maldonado   Date: 2025.03.12
                                                              12:25:59 -04'00'
                                            EDGAR MALDONADO MEDERO


                                  PRAYER

     WHEREFORE, plaintiff demands judgment as follows:

     a)   That defendants breached the contractual obligations

          claimed in this complaint;

     b)   All   legal   rights,    titles    and     interests        which         the

          defendants may have in the property(ies) described in

          this complaint and any building or improvement thereon,

          be sold at public auction, as part of the judicial


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     foreclosure of the mortgage lien(s) securing each loan

     obligation;

c)   That the defendants and all persons claiming or who may

     claim by, from or under them, be absolutely barred and

     foreclosed from all rights and equity of redemption in

     and to said loan security;

d)   If the proceeds of said sale exceeds the sum of money

     to be paid to the United States as aforesaid, any such

     excess be deposited with the Clerk of this Court, subject

     to further orders from the Court;

e)   Once the property is auctioned and sold, it is requested

     to the Clerk of this Court to issue a writ addressed to

     the Registry of the Property, ordering the cancellation

     of the foreclosed mortgage(s) and of any other junior

     liens recorded therein;

f)   For such further relief as in accordance with law and

     equity may be proper.

In San Juan, Puerto Rico, this 12 day of March 2025.




                               /s/ Juan Carlos Fortuño Fas
                              JUAN CARLOS FORTUÑO FAS
                              USDCPR 211913
                              FORTUÑO & FORTUÑO FAS, C.S.P.
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